Plaintiff's remaining state law claims are DISMISSED without
September, 2004.

GRANTED absent objection.

prejudice.

Lo at Brattleboro, Vermont this

MILLER FAIGNANT
& BEHRENS PC.
ATTORNEYS AT LAW

P.O. BOX 6688
36 MERCHANTS ROW

‘UTLAND, VERMONT 05702

Case 1:04-cv-00053-jgm Document 6 Filed 08/20/04 Page 1 of 4

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF VERMONT

SCOTT TRAUDT,
Plaintiff,

VS.

DAIMLER CHRYSLER MOTORS
COMPANY LLC,

PERFORMANCE MARKETING, INC.,
DAVID CICOTTE,

MECHANICS JOHN DOES 1-4,

Civil Action File No. 1:04-CV-53

Defendants

MOTION TO DISMISS COMPLAINT AGAINST PERFORMANCE MARKETING,
INC., AND DAVID CICOTTE

NOW COMES Performance Marketing, Inc. and David Cicotte, defendants in the above

f entitled action, by and through their attorneys, Miller Faignant & Behrens, P.C., and move to

dismiss the complaint against them for lack of jurisdiction. In support of this motion, defendants

submit the following memorandum of law.

MEMORANDUM OF LAW

The court having previously dismissed the RICO claims against the moving defendants, the
court lacks diversity jurisdiction over Performance Marketing, Inc. [Performance] and David Cicotte
for any remaining tort claims set forth in the First Amended Complaint because plaintiff has failed
to establish that he and defendants are all citizens of different states. Thus there is no diversity of
citizenship as required by 28 USC 1332 (a) because the plaintiff may not share citizenship with any
defendant. See Caterpillar Inc. v. Lewis, 519 U.S. 61, 68, 117 S.Ct. 467, 472 (U.S.Ky., 1996)

Page 1 of 3

Case 1:04-cv-00053-jgm Document 6 Filed 08/20/04 Page 2 of 4

e e

Congress has constantly authorized the federal courts to exercise jurisdiction based
on the diverse citizenship of parties. In Strawbridge v. Curtiss, 3 Cranch 267, 2 L.Ed.
435 (1806), this Court construed the original Judiciary Act's diversity provision to
require complete diversity of citizenship. Id., at 267. We have adhered to that
statutory interpretation ever since. See Carden v. Arkoma Associates, 494 U.S. 185,
187, 110 S.Ct. 1015, 1017, 108 L.Ed.2d 157 (1990). The current general-diversity
statute, permitting federal district court jurisdiction over suits for more than $50,000
"between ... citizens of different States," 28 U.S.C. § 1332(a), thus applies only to
cases in which the citizenship of each plaintiff is diverse from the citizenship of each

defendant.

Plaintiff, Scott Traudt, alleges that he is a resident of Stratford, Vermont; however, he fails
to allege that he is a citizen of any state. The burden is on the plaintiff to allege sufficient facts from
which jurisdiction clearly appears. Lumbermens Mut. Cas. Co. v. Chase Manhattan Bank, 2001 WL
103547, (S.D.N.Y.) (S.D.N.Y.,2001); Onebeacon Ins. v. River House, Inc., 2002 WL 31507721,

(S.D.N.Y.) (S.D.N.Y.,2002). The First Amended Complaint fails to meet this standard.

Moreover, plaintiff has failed to properly invoke diversity jurisdiction because plaintiff alleges
that the amount in controversy is only in excess of $50,000.00. Diversity of citizenship jurisdiction
must affirmatively appear in the complaint or the record; it cannot be presumed and the requirement

of 28 U.S.C § 1332 (a) is clearly not met by the allegations of 1 10 of the complaint.

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Page 2 of 3

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Case 1:04-cv-00053-jgm Document 6 Filed 08/20/04 Page 3 of 4

The First Amended Complaint does not allege the citizenship of the plaintiff or David
Cicotte. However, in 113 and 7 of the First Amended Complaint, plaintiff alleges that Performance
Marketing, Inc. is a Vermont corporation. Because the only facts alleged in the complaint fail to
clearly demonstrate that plaintiff and Performance Marketing, Inc. and David Cicotte are citizens
of diverse states and the amount in controversy satisfies the threshold amount, it is clear that plaintiff
has utterly failed to adequately allege complete diversity and the proper jurisdictional threshold of

damages.

We

It is firmly established that diversity of citizenship "'should be distinctly and positively
averred in the pleadings, or should appear with equal distinctness in other parts of the
record.'" Wolfe v. Hartford Life & Annuity Ins. Co., 148 U.S. 389, 13 S.Ct. 602, 37
L.Ed. 493 (1893). It is also clear that a statement of the parties’ residence is
insufficient to establish their citizenship. Id.; John Birch Soc'y v. National Broadcasting
Co., 377 F.2d 194, 199 (2d Cir.1967). Leveraged Leasing Admin. Corp. v. PacifiCorp
Capital, Inc., 87 F.3d 44, *47 (C.A.2 (N.Y.),1996).

WHEREFORE, the moving defendants move that the First Amended Complaint against
them be dismissed.
Dated at Rutland, Vermont this 19% day of August, 2004

PERFORMANCE MARKETING, INC.
DAVID CICOTTE

Miller Faignant & Behrens, P.C.
36 Merchants Row

Rutland, Vermont 05702-6688
(802) 775-2521

Fed. ID. #: 000480988

Page 3 of 3

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Case 1:04-cv-00053-jgm Document 6 Filed 08/20/04 Page 4 of 4

UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT
SCOTT TRAUDT,
Plaintiff
v. Civil Action

Docket No: 1:04-CV-53

DAIMLER CHRYSLER MOTORS

COMPANY, LLC, PERFORMANCE

MARKETING, INC., DAVID CICOTTE,

MECHANICS JOHN DOES 1-4,
Defendants

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CERTIFICATE OF SERVICE

NOW COME Defendants Performance Marketing, Inc., and David Cicotte, by and
through their attorneys, Miller, Faignant & Behrens, P.C., and pursuant to V.R.C.P. 5(d)

certifies that on August 19, 2004, Defendants’ Motion to Dismiss Complaint was served upon:

Scott Traudt, Pro Se Plaintiff William H. Quinn, Esq.
191 Kibling Hill Road Pierson, Wadhams, Quinn, Yates & Coffrin
Strafford, VT 05072 253 South Union Street

Burlington, VT 05401-4592
by forwarding a copy to them via U.S. Mail, postage prepaid.
DATED at the City of Rutland, County of Rutland, and State of Vermont this _day of
August, 2004.

MILLER, FAIGNANT & BEHRENS, P.C.

Attorney for Defendants
Performance Marketing, Inc. and
David Cicotte

